   Attachment Two
Follow Up and Specific Request for
           Discovery
  From: Anderson, Matthew (USAOKW) Matthew.Anderson2@usdoj.gov
Subject: RE: [EXTERNAL] Bills - Missing Discovery
   Date: March 11, 2024 at 9:23 AM
     To: Robert Gifford robert.gifford@giffordlawyer.com


      I will have to see what is available.

      Best,

      Matt

      From: Robert Gifford <robert.gifford@giffordlawyer.com>
      Sent: Saturday, March 9, 2024 5:56 PM
      To: Anderson, Matthew (USAOKW) <MAnderson2@usa.doj.gov>
      Subject: [EXTERNAL] Bills - Missing Discovery

      Matt: I am looking for a few things that I don’t think are included in the discovery.

      1. Any dashcam or BWC video of the traffic stop, as well as when the agent took the car
      and drove it away to do another dog sniff at a different location.

      2. The radio logs of the traffic stop and drug dog being called out.

      3. Any information or report on when the drug dog was called out and actually arrived
      and was deployed the first time and the timing on the second time when they moved the
      car and re-deployed the drug dog.

      4. Any information on the drug dog itself (e.g. OHP Utilization Report that tracks the drug
      dog’s performance demonstrating his “find” rate and “false response” rate (or other
      documentation reflecting the same). If this isn’t an OHP dog, then the equivalent for
      whichever agency’s dog that it is.

      5. Any documents used for the purposes of booking Ms. Bills into Cleveland County, the
      PC affidavit provided to the jail, and release from Cleveland County.

      Thank you.



      Robert D. Gifford
      ATTORNEY




      GIFFORD LAW, P.L.L.C.
      Phone: (405) 810-5406
      Cell/Text: (405) 778-4647
Facsimile: (877) 295-0287
Email: Robert.Gifford@GiffordLawyer.com


Website: http://giffordlawyer.com
This e-mail (and attachments) contains PRIVILEGED AND CONFIDENTIAL INFORMATION intended only for the use of the
recipient(s) named above, and is covered by the Electronic Communication Privacy Act, 18 U.S.C. §§ 2510-2521. If you are not the
intended recipient of this e-mail, or the employee or agent responsible for delivering it to the intended recipient, you are hereby
notified that any dissemination or copying of this e-mail is strictly prohibited. If you have received this e-mail in error, please
immediately notify us via e-mail and delete this e-mail from your system. Thank you.


*Please note the following: (1) email communication is not a secure method of communication; (2) any email that is sent between
you and this law firm may be copied and held by various computers it passes through as it is transmitted; (3) persons not participating
in our communication may intercept our communications by improperly accessing your computer or this firm’s computer or even
some computer unconnected to either of us that this email passes through. I am communicating to you via email because you have
consented to receive communications via this medium. If you change your mind and want future communications to be sent in a
different fashion, please advise me at once.
